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AO 91 (Rev. 11/11) Criminal Complaint


                              UNITED STATES DISTRICT COURT
                                                        for the                                            4/22/2022
                                            Central District of California                                   cd



 United States of America

                 v.                                                                                        4/22/22
                                                                                                                  eb


 EDWIN ALEXANDER ANDRADE,
                                                                  Case No. 2:22-mj-01602-DUTY
 DUL&E KARINA CAMACHO REYES,
 and JOSE MANUEL REYES,

                 Defendants


                                          CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of March 15, 2022 and April 20, 2022, in the county of Los Angeles in the Central

District of California, the defendant(s) violated:

           Code Section                                           Offense Description

           21 U.S.C. § 841(a)(1)                                  Possession with Intent to Distribute a
                                                                  Controlled Substance
         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                   /s/ Dylan Giordano
                                                                                 Complainant’s signature

                                                                           Dylan Giordano, Special Agent
                                                                                  Printed name and title
 Sworn to before me and signed in my presence.

 Date:             4/22/22
                                                                                    Judge’s
                                                                                    Judg
                                                                                      d e’s signature
                                                                                            sig
                                                                                             i nature

 City and state: Los Angeles, California                           Hon. Margo A. Rocconi, U.S. Magistrate Judge
                                                                                  Printed name and title

AUSA: Varun Behl
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                               AFFIDAVIT

       I, Dylan Giordano, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

            This affidavit is made in support of a criminal

complaint and arrest warrant against        for violation of 21

U.S.C. § 841(a)(1): Possession with Intent to Distribute a

Controlled Substance.

            This affidavit is also made in support of an

application for a warrant to search the following digital

devices (collectively, the “SUBJECT DEVICES”), in the custody of

Drug Enforcement Administration (“DEA”), in Los Angeles,

California, as described more fully in Attachment A:

            a.    a black iPhone 12, with IMEI 352513428852863,

seized from the center console of a black 2007 Cadillac sedan

with license plate 7PYL649 registered to ANDRADE (“ANDRADE’S

CAR”) (“SUBJECT DEVICE 1”);

            b.    a black iPhone SE, with IMEI 356468108909192,

seized from the center console of ANDRADE’S CAR (“SUBJECT DEVICE

2”);

            c.    a Moto G Pure Cricket phone, with IMEI

357823320790987, seized from CAMACHO REYES’s purse (“SUBJECT

DEVICE 3”); and

            d.    a white iPhone 12, with an unknown IMEI number,

seized from CAMACHO REYES’s purse (“SUBJECT DEVICE 4”).

            The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 21
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U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances)(the “Subject

Offenses”), as described more fully in Attachment B.

Attachments A and B are incorporated herein by reference.
             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

             I am a Special Agent with DEA and have been so

employed since June 2019.     I am currently assigned to the Los

Angeles Field Division Southwest Border 4 (“SWB4”).         SWB4 is a

task force comprised of agents and officers from federal, state,

and local agencies, assigned to investigate large-scale

narcotics trafficking.

             I have attended DEA Basic Agent Training at the DEA

Academy and received hundreds of hours of training on topics

such as drug identification, money laundering techniques,

patterns of drug trafficking, complex conspiracies, the

exploitation of narcotics traffickers’ telecommunications



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devices, criminal law, surveillance, and other investigative

techniques.   I have assisted in investigations into the unlawful

importation, manufacture, possession with intent to distribute,

and distribution of narcotics and controlled substances, the

laundering of narcotics proceeds, and conspiracies associated

with narcotics offenses.     In conducting these investigations, I

have used a variety of investigative techniques and resources,

including but not limited to surveillance, confidential source

debriefings, telephone toll analysis, and wire communications
analysis in Title III wiretap investigations.
          I am familiar with the methods used by narcotics

traffickers to smuggle and safeguard narcotics, to distribute

narcotics, and to collect and launder proceeds related to the

sales of narcotics.    I am familiar with methods employed by

large-scale narcotics organizations, and the sophisticated

tactics that they routinely use in attempts to thwart the

investigation of their narcotics organizations, including the

utilization of cellular telephone (and smartphone) technology,

counter surveillance techniques, debit calling cards, public

telephones, hidden vehicle compartments, elaborately planned

smuggling schemes tied to legitimate businesses, false or

fictitious identities, and coded communications and

conversations.

          Prior to my employment with the DEA, I was a police

officer with the New York City Police Department since

approximately April 2017.     As a police officer, I performed

routine patrol activities and conducted arrests, including



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arrests for drug offenses.

                   III. SUMMARY OF PROBABLE CAUSE
          On March 15, 2022, REYES sold a DEA confidential

source (“CS-2”) 1 approximately 186 grams of suspected fentanyl

pills in exchange for $3,000.

          On April 10, 2022, CS-2 ordered approximately 70,000

fentanyl pills from REYES.     REYES confirmed the order and told

CS-2 that REYES would call “down there” 2 and would let CS-2 know

if the fentanyl pills were available.       On April 20, 2022, law

enforcement agents seized approximately 11,542 grams of

suspected fentanyl pills from ANDRADE and CAMACHO-REYES.          Law

enforcement found approximately 20,000 suspected fentanyl pills

in a blue and white cooler located in the front passenger seat

of ANDRADE’s CAR and approximately 50,000 suspected fentanyl

pills in a blue duffel bag in the rear passenger side of a

Volkswagen sedan, with license plate 8TTW586, and registered to

CAMACHO REYES (“CAMACHO REYES’s CAR”).


     1 CS-2 has provided assistance to the DEA since 2018. CS-2
has not been compensated for his/her assistance in this
investigation. Since 2018, CS-2 has been paid a total of
$1,500_for all the assistance he/she has provided. Since 2018,
CS-2 has also obtained a significant public benefit parole,
which allows CS-2 to remain in the United States. CS-2 has
misdemeanor convictions for being under the influence of a
controlled substance, driving with a suspended license,
inflicting a corporal injury on a spouse, and driving under the
influence of alcohol. CS-2 has other arrests, including
transporting narcotics for sale and possession of controlled
substances for sale. CS-2 has worked with DEA on several
occasions over the past four years, including as a witness in an
ongoing case, and has consistently provided credible and
reliable information.
     2 Based on the context of the overall conversation and my
training and experience, I believe “down there” refers to
REYES’s source of drugs in Mexico.


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           On April 20, 2022, agents seized SUBJECT DEVICE 1 and

SUBJECT DEVICE 2 from the center console of ANDRADE’S CAR.

Agents seized SUBJECT DEVICE 3 and SUBJECT DEVICE 4 from CAMACHO

REYES’s purse in the front passenger seat of CAMACHO REYES’s

CAR.

                   IV. STATEMENT OF PROBABLE CAUSE

           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

           Since the beginning of June 2020, DEA special agents

have been in contact with a DEA confidential source (“CS-1”) 3 who

has provided agents with information concerning individuals that

are members of the Sinaloa cartel that traffic large quantities

of methamphetamine, cocaine, and fentanyl in and around the Los

Angeles area in California.

           In February 2022, CS-1 provided an unknown individual

in Mexico a phone number belonging to CS-2 for CS-2 to purchase

a sample of approximately 186 grams of fentanyl M-30 pills.

That unknown individual then gave CS-2’s phone number to other

unknown individuals in Mexico to have someone contact CS-2 to



       CS-1 has provided assistance to the DEA since 2012. CS-1
       3
has been compensated $2,500 in assistance in this investigation.
Since 2012, CS-1 has been paid a total of $72,331.05 for all the
assistance he/she has provided. Since 2012, CS-1 has also
obtained a significant public benefit parole, which allows CS-1
to remain in the United States. CS-1 has misdemeanor
convictions for receiving known stolen property and tampering
with a vehicle. CS-1 has other arrests, including transporting
narcotics for sale and possession of controlled substances for
taking a vehicle without consent of owner/vehicle theft. CS-1
has worked with DEA on several occasions over the last 10 years
and has consistently provided credible and reliable information.


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coordinate a deal of said fentanyl pills.
             On March 2, 2022, CS-2 received multiple phone calls

from a Mexican phone number ending in 7005. 4       The caller is

believed to be an unknown Mexican-based source of supply for

drugs.   The caller introduced himself to CS-2 as calling on

behalf of another person named “Gallero.”        In these calls, the

caller and CS-2 discussed a sale of approximately 1000 fentanyl

M30 pills.    CS-2 asked the caller if he could provide CS-2

“little buttons.” 5   The caller informed CS-2 that he wanted a

portion of the proceeds from the sale of fentanyl pills to be

sent to Mexico.    CS-2 agreed to this condition.       The caller

informed CS-2 that he would pass CS-2’s cellphone number to

another unknown individual who would then reach out to CS-2 to

discuss the delivery of the fentanyl pills to CS-2.

             On March 8, 2022, CS-2 received a call from a Mexican

telephone number ending in 2243. 6     This caller is also believed

to be another Mexican based source of supply for drugs.          The

caller told CS-2 that he was contacting CS-2 on behalf of the

caller’s “friend.”    The caller told CS-2 that if CS-2 wanted to

purchase 1,000 “buttons,” CS-2 would have to give the courier

delivering the “buttons” eighty “cents” to the courier and give


     4 These phone calls between CS-2 and the Mexican-based
source of supply were in Spanish. These calls were recorded and
have been translated into English.
     5 Based on my training and experience, I believe that
“little buttons” and “buttons” are coded language referring to
fentanyl M-30 pills.
     6 This phone call between CS-2 and this second Mexican-based
source of supply was in Spanish. This call was recorded and has
been translated into English.


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twenty “cents” to Mexico. 7    CS-2 told the caller that CS-2 agreed

to the conditions of the deal.      The caller told CS-2 that

someone would call CS-2 shortly.      On March 8, 2022, at

approximately 1:48 p.m., CS-2 received a text message from the

same number, ending in 2243, telling CS-2 that CS-2 would get a

call after 4 p.m.

          On March 8, 2022, at approximately 5:58 p.m., CS-2

received a call from an individual believed to be REYES from

562-527-8800, a cellular telephone issued by AT&T, with IMSI

310280031616210, subscribed to REYES at 12567 Andretti Street,

Moreno Valley, California, 92553, and believed to be used by

REYES (“REYES Telephone 1”). 8    REYES told CS-2 that he was

contacting CS-2 on behalf of “the friend.”        CS-2 replied to

REYES “for the buttons.”      REYES responded to CS-2 by asking

“Where are you at?”.    CS-2 replied, “Baldwin Park.”       REYES told

CS-2 that he was coming from the Moreno Valley area and was

heading to the Long Beach area.      REYES further told CS-2 that he

could meet CS-2 after he returns from the Long Beach area.           CS-2
told REYES that CS-2 would contact REYES later.

          Later on March 8, 2022, CS-2 called REYES on REYES

Telephone 1.   CS-2 told REYES that CS-2 is one hour away from

the Baldwin Park area of California.       REYES told CS-2 to provide

the directions, so REYES could estimate the amount of time it


     7 Based on my training and experience, I believe that the
caller was referring to splitting the percentage of the proceeds
from the sale of fentanyl pills after the deal was completed.
     8 The phone calls between CS-2 and REYES using REYES
Telephone 1 were in Spanish. These calls were recorded and have
been translated into English.


                                       7
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would take him to meet with CS-2.      CS-2 sent the directions to

REYES Telephone 1.    REYES replied to CS-2 that he was

approximately one hour and twenty minutes away from CS-2.          In a

following call made from REYES Telephone 1 to CS-2, REYES told

CS-2 that he would take about two to three hours to reach CS-2.

REYES told CS-2 that he would reach out tomorrow morning to

discuss the logistics for the deal.
             Through queries of REYES Telephone 1 through a DEA

database that monitors financial transactions sent through

Western Union and other financial institutions, DEA agents

discovered that REYES had sent money to another individual and

had listed REYES Telephone 1 as his phone number.         Further law

enforcement database checks of REYES revealed his residence at

12567 Andretti Street, Moreno Valley, CA 92335 (“REYES’

RESIDENCE”).

             On March 9, 2022, I obtained a ping order from the Los

Angeles County Superior Court authorizing the installation and

use of a GPS ping locator on REYES Telephone 1, which is

subscribed to REYES.    Based on the GPS ping locator, I believe

REYES’ RESIDENCE to be REYES’ current residence.

                 PURCHASE OF FENTANYL PILLS FROM REYES

             On March 15, 2022, at approximately 4:00 a.m., DEA

agents established surveillance at REYES’ RESIDENCE.          Agents

observed a gray Toyota Camry with California license plate

8ZSS936 (“REYES’s CAR”) parked in the driveway of REYES’

RESIDENCE.    Agents saw REYES exit the residence and enter the

driver side door of REYES’s CAR.      Agents then saw the REYES’ CAR



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leave REYES’ RESIDENCE and drive to and enter a parking lot

structure located on North Vermont Ave, Los Angeles, California

90027.    Agents saw REYES take out a yellow high visibility work

vest and gray hard hat from the trunk of REYES’s CAR and exit

the parking structure.      Special Agent Martoccia identified the

Hispanic male as REYES based on his prior surveillance of REYES.
            Around 7:05 a.m. on March 15, 2022, CS-2 received a

text message from 951-907-4057 a cellular telephone issued by T-

Mobile, with IMSI 310240192215669, subscribed to an unknown

individual and believed to be used by REYES (“REYES Telephone

2”).    Through this text message, REYES provided CS-2 with a

location on where to meet REYES.       CS-2 confirmed with REYES that

CS-2 and REYES will meet at approximately 10:30 a.m. to conduct

the narcotics sale.

            Later that day, on March 15, 2022, at approximately

10:26 a.m., Special Agent Charles Yeagley saw REYES approach

REYES’ CAR inside the parking structure located on North Vermont

Ave, Los Angeles, California 90027.         Special Agent Yeagley saw
REYES take out a clear plastic bag from the trunk of REYES’ CAR

and then leave the parking structure.        I saw REYES approach CS-

2’s vehicle carrying a bundled green hand towel that appeared to

have a weighted object wrapped inside of it, speak briefly with

CS-2, and then enter into CS-2’s vehicle.         REYES then provided

CS-2 with approximately 186 grams of suspected fentanyl pills in

exchange for $3,000.     REYES then exited CS-2’s vehicle and

walked away from the structure.

       CS-2 AND REYES DISCUSS THE SALE OF 70,000 FENTANYL PILLS



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           On April 10, 2022, at approximately 6:37 p.m., CS-2

contacted REYES on REYES Telephone 1 and made an order of

approximately 70,000 “buttons” for CS-2. 9       REYES confirmed an

order of 70,000 fentanyl pills to CS-2.        REYES told CS-2 that

REYES would call “down there” 10 and would let CS-2 know if the

“buttons” are available.

           On the same day, on April 10, 2022, at approximately

10:00 p.m., CS-2 received a text message from 909-201-4266, a

cellular telephone issued by AT&T, with IMSI310410302862544,

subscribed to Locus Communications at 111 Sylvan Avenue,

Englewood Cliffs, New Jersey 07632, and believed to be used by

an unknown individual (“Unknown Telephone 3”), stating “This is

the family friend about the smurfs.”

           On April 11, 2022, at approximately 11:15 a.m., CS-2

received a text message from Unknown Telephone 3, stating “70

Tuesday.” 11   At 11:44 a.m., CS-2 received a call from Unknown

Telephone 3 regarding the sale of 70,000 fentanyl pills.           CS-2

asked the unknown male calling from Unknown Telephone 3 if CS-

2’s number was sent to the unknown male by REYES.          The unknown




      9This phone call between CS-2 and REYES was in Spanish.
This call was recorded and has been translated into English.
       Based on the context of the overall conversation and my
      10
training and experience, I believe “down there” refers to
REYES’s source of drugs in Mexico.
       Based on my training and experience and the overall
      11
context of the conversations between CS-2 and REYES, I believe
REYES passed CS-2’s phone number to the unknown male using
Unknown Telephone 3 who then contacted CS-2 about the sale of
70,000 fentanyl pills.


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male replied yes and that they want to know about “the papers.” 12
The unknown male also asked CS-2 how much CS-2 was going to pay

for the fentanyl pills.      CS-2 replied that CS-2 was going to pay

“three” for the fentanyl pills.       The unknown males replied to

CS-2 that he thought that price was good, but he would have to

check and would need to call CS-2 back.        The unknown male

confirmed to CS-2 that they have 70,000 buttons, but told CS-2

that they have the buttons in different offices, and they are

trying to compile them to give to CS-2.

            On April 14, 2022, the Honorable Alka Sagar, United

States Magistrate Judge, granted the government’s Application

for a Warrant Authorizing the Disclosure Cell-site and GPS

Information for REYES Telephone 1, REYES Telephone 2, and

Unknown Telephone 3.

            On April 14, 2022, at approximately 7:15 a.m., Unknown

Telephone 3 texted CS-2 that Unknown Telephone 3 had sent CS-2

another phone number.     CS-2 texted Unknown Telephone 3 and asked

if it was another phone number belonging to Unknown Telephone 3.
Unknown Telephone 3 replied to CS-2 that the new number was

“mine.”    CS-2 informed Unknown Telephone 3 that everything is

ready, and CS-2 will contact Unknown Telephone 3 when CS-2 was

ready to do the deal.     Unknown Telephone 3 informed CS-2 that he

will contact CS-2 from the new number so CS-2 has it.           The

unknown male using Unknown Telephone 3 told CS-2 that he will

send CS-2 a message from the new phone number.


       Based on my training and experience, I believe “the
      12
paper” refers to the payment for drugs that CS-2 would provide
during the deal.


                                       11
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            On April 14, 2022, at approximately 4:45 p.m., CS-2

received a text message from telephone number 909-452-3862

(“Unknown Telephone 4”) stating to CS-2 “new.”

            On April 19, 2022, the Honorable Michael R. Wilner,

United States Magistrate Judge, granted the government’s

Application for a Warrant Authorizing the Disclosure Cell-site

and GPS Information for Unknown Telephone 4.

                  ANDRADE AND CAMACHO-REYES DELIVER

       APPROXIMATELY 70,000 SUSPECTED FENTANYL PILLS TO CS-2

            Between April 10 and April 19, 2022, CS-2 and the user

of Unknown Telephone 4 negotiated the sale of 70,000 fentanyl

pills. 13   On April 19, 2022, Unknown Telephone 4 contacted CS-2

in preparation for the deal.       CS-2 confirmed that the deal would

take place the next day on April 20, 2022.

            On April 20, 2022, between approximately 9:00 a.m. and

6:00 p.m., CS-2 exchanged text messages and phone calls with the

user of Unknown Telephone 4. 14     In these calls and text messages,

CS-2 and the user of Unknown Telephone 4 discussed the sale of

70,000 fentanyl pills.      At approximately 3:00 p.m., CS-2 made a

call to Unknown Telephone 4 to the unknown male to find out

where the deal would take place.       At around 3:20, the unknown

male informed CS-2 that other individuals would arrive sometime

between 4:30 p.m. and 5:00 p.m. to sell CS-2 the 70,000 fentanyl


       These phone calls between CS-2 and the user of Unknown
      13
Telephone 4 were in Spanish. These calls were recorded and have
been translated into English.
       These phone calls between CS-2 and the user of Unknown
      14
Telephone 4 were in Spanish. These calls were recorded and have
been translated into English.


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pills.        At around approximately 4:48 p.m., CS-2 again reached

out to Unknown Telephone 4 to the unknown male for an update

about the deal.       The unknown male told CS-2 that he would arrive

around 5:20 p.m. at the parking structure at the Home Depot

located at 5600 Sunset Blvd, Hollywood, California.          At

approximately 5:40 p.m., the unknown male informed CS-2 that a

woman would arrive in a car with the “material” 15 and would
confirm that CS-2 had the money.        At approximately 5:47 p.m.,

the unknown male explained to CS-2 that a man and woman would

arrive with “20” 16 and would confirm CS-2 had the money.         At

approximately 5:55 p.m., the unknown male called CS-2 and

informed CS-2 that “they” had arrived in a black Cadillac

vehicle with the “20” for CS-2.

                That same day, at around 2:30 p.m., DEA agents

searched CS-2 and CS-2’s vehicle at a predetermined staging

area.        No contraband was found on CS-2 or in CS-2’s vehicle.      At

around 2:45 p.m., DEA agents went to the parking structure at

the Home Depot located at 5600 Sunset Blvd, Hollywood,
California to set up a surveillance team.         At the same time,

around 2:45 p.m., CS-2 drove CS-2’s vehicle to the Home Depot’

parking structure.

                On the same day, at around 5:30 p.m., CS-2 saw ANDRADE

drive ANDRADE’S CAR drive into Home Depot’s parking structure


       Based on my training and experience and the context of
        15
the conversations with CS-2 and the unknown male, I believe
“materials” referred to the fentanyl pills.
       Based on my training and experience and the context of
        16
the conversations with CS-2 and the unknown male, I believe “20”
referred to 20,000 fentanyl pills.


                                        13
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located at 5600 Sunset Blvd, Hollywood, California and park his

car.   At around 5:40 p.m., CS-2 saw CAMACHO REYES drive CAMACHO

REYES’s CAR into the Home Depot’s parking structure and park in

the spot right next to ANDRADE’s CAR.         The windows were down in

both REYES’S CAR and CAMACHO REYES’s CAR.
           On April 20, 2022, shortly after receiving the call

from the Unknown Telephone 4 around 5:55 p.m., CS-2 walked up to

ANDRADE’s CAR.    ANDRADE was seated in the driver seat.         As CS-2

approached ANDRADE’s CAR, CS-2 and law enforcement agents saw

CAMACHO REYES pass a blue and white igloo cooler through the

front driver side window of CAMACHO REYES’s CAR and place it in

the front passenger seat of ANDRADE’s CAR.         CS-2 and ANDRADE

discussed the sale of fentanyl pills.        CS-2 then asked ANDRADE

to open the blue and white cooler and to open the portion of the

wrapping that contained the suspected fentanyl pills so that CS-

2 could verify the pills.      ANDRADE opened an area of the

wrapping of the pills to show CS-2.         CS-2 saw blue colored

suspected fentanyl pills that resemble fentanyl M-30 pills.

           The GPS ping locator for REYES Telephone 2 and Unknown

Telephone 4 showed that those devices were in the vicinity of

Home Depot’s parking structure located at 5600 Sunset Blvd,

Hollywood, California from around 5:30 p.m. to around 6:10 p.m.

           On April 20, 2022, at around 6 p.m., DEA agents

approached ANDRADE’s CAR and CAMACHO REYES’s CAR.          The agents

arrested ANDRADE and CAMACHO REYES and searched each of them

incident to arrest.     Agents identified ANDRADE based on his

identification contained in his wallet.        Agents asked CAMACHO



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REYES for her identification.       She told officers that the agents

could take her wallet out of her purse which was in the front

passenger seat of CAMACHO REYES’s CAR.         Agents took her purse,

removed her identification, and identified her based on her

identification.    Agents also seized SUBJECT DEVICE 3 and SUBJECT

DEVICE 4, which were in her purse.
           Agents searched ANDRADE’s CAR and CAMACHO REYES’ CAR.

Agents seized SUBJECT DEVICE 1 and SUBJECT DEVICE 2 from the

center console of ANDRADE’s CAR.       Agents seized the blue and

white cooler, which contained approximately 20,000 suspected

fentanyl pills, from ANDRADE’S CAR.         In CAMACHO REYES’s CAR,

agents found a blue colored duffel bag on the floor in the rear

passenger side.    The duffel bag contained approximately 50,000

additional suspected fentanyl pills.

           On April 20, 2022, around 6:10 p.m., I Mirandized

ANDRADE.   ANDRADE was receiving calls on SUBJECT DEVICE 2.          I

asked ANDRADE who was calling him.        ANDRADE answered REYES.

ANDRADE said that he works with REYES, REYES was down the

street, and that REYES told him to come up to the Home Depot

parking structure to meet a female.         ANDRADE provided agents

consent to search SUBJECT DEVICE 1 and SUBJECT DEVICE 2.

           At around 6:25 p.m., DEA Special Agent Martoccia

Mirandized CAMACHO REYES.      CAMACHO REYES provided agents consent

to search SUBJECT DEVICE 3 but did not provide consent to search

SUBJECT DEVICE 4.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES

           Based on my training and experience and familiarity



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with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where the drug trafficker has ready access to them, such as on

their cell phones and other digital devices.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or



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facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices.      Drug traffickers often keep records of

meetings with associates, customers, and suppliers on their

digital devices, including in the form of calendar entries and

location data.

           e.    Individuals engaged in the illegal purchase or

sale of drugs and other contraband often use multiple digital
devices.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
           As used herein, the term “digital device” includes the

SUBJECT DEVICES.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or
remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may



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also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.



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           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it can take a substantial period of time to search a

digital device for many reasons, including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s



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fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the
opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.     Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress ANDRADE and CAMACHO-REYES’s thumb-

and/or fingers on the devices; and (2) hold the devices in front

of ANDRADE and CAMACHO-REYES’s face with his or her eyes open to

activate the facial-, iris-, and/or retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VII. CONCLUSION

           For all of the reasons described above, there is

probable cause to believe that ANDRADE, CAMACHO REYES, and REYES



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have committed a violation of 21 U.S.C. § 841(a)(1): Possession

with Intent to Distribute a Controlled Substance.          There is also

probable cause that the items to be seized described in

Attachment B will be found in a search of the SUBJECT DEVICES

described in Attachment A.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   22nd day of
April
_________, 2022.




HONORABLE MARGO A.
                A ROCCONI
UNITED STATES MAGISTRATE JUDGE




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